          CERTIFICATE AND SEAL OF SEVIER COUNTY CIRCUIT COURT
                                  SEVIERVILLE, TENNESSEE


STATE OF TENNESSEE
COUNTY OF SEVIER


I, Rita 0. Ellison, Clerk of the Circuit Court for Sevier County, Tennessee, do hereby
certify that the foregoing is a true and exact copy of the following:
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       r21-ev- ..375-.IC
filed in the Sevier County Circuit Court and bearing the docket number of;


and in which the style of the case is:

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               ,h..._n==--�'---'-,
                                t/o      r./:aa�----VS- Rpl G.bltunmcof In�
                                  ,.........__,
                                                          fff
as the same remains of record in said court.

In testimony whereof, I hereunto subscribe my name and affix the seal of said court at
the office in Sevierville, Tennessee, on this the "5-1-1,. day of Ot1/ohLr
20 2/



Rita 0. Ellison
Circuit Court Clerk
                                                                                    ���-· 20..21
By:,(�                 c..(6'.., h-k)                                   ,---,,<,-.,.�

                      uty Clerk


                                Sevier County Circuit Court
                              125 Court Avenue, Room 204E
                                  Sevierville, TN 37862


     Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 1 of 48 PageID Exhibit
                                                                        #: 9 A
                                                                                         Page 1
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              IN THE CIRCUIT COURT FOR SEVIER COUNTY, TENNESSEE

DEBRA HORTON                                                   )
                                                               )
        Plaintiff,                                             )                            ..,.""C1   ,-..,
                                                                                      (J)-.. ;!        �            (")
                                                               )
v.                                                             )      No.:    2/-t!,{f.3.]$--7/fy;
                                                               )                       ,,      ··-
                                                                                       :...'.. ! -,     :,:;

RIPLEY ENTERNAINMENT INC.                                      )
                                                                                                                0
and FIVE OAKS DEVELOPMENT GROUP, INC.                          )                                                c.O
                                                                                                                    0
                                                               )
        Defendants                                             )



                                            COMPLAINT


        Comes the Plaintiff, by and through counsel, and for cause of action against the

Defendants would show as follows:

                                               PARTIES

        1.      Plaintiff Debra Horton brings this lawsuit to recover damages on account of

injuries suffered by Plaintiff on June 25, 2020, arising from her falling as a result of a faulty

stairwell at Ripley's Old MacDonald's Farm Mini Golf.

        2.      Plaintiff alleges herein that negligent and tortious actions and omissions by the

Defendants and their respective agents, employees and/or representatives, proximately caused

the injuries that are the subject of this lawsuit.

        3.      Plaintiff is a citizens and residents of Orange, Texas.

        4.      Defendant Ripley Entertainment Inc., is a Delaware based entertainment holding

company owned by the Jim Pattison Group of Vancouver, British Columbia. Upon infonnation

and belief, Defendant Ripley Entertainment, Inc., owns and operates the Ripley's Old

MacDonald's Farm Mini Golf. Ripley Entertainment, Inc., may be served with process on its

registered agent, CT Corporation System, 300 Montvue Road, Knoxville, TN 37919-5546.


                                                                        Exhibit
     Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 2 of 48 PageID #: 10 A
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        5.       Landowner, Five Oaks Development Group, Inc., is a Tennessee For-Profit

Corporation, with a principal address at 1629 Parkway, Sevierville, Tennessee 37862. Defendant

Five Oaks Development Group, Inc., may be served with process upon its registered agent, Tyler

C. Huskey, at 2540 Sand Pike Blvd., Ste. 2, Pigeon Forge, Tennessee 37863. Upon infonnation

and belief, Defendant Five Oaks Development Group, Inc., is the landowner and landlord for

Ripley's Old MacDonald's Farm Mini Golf.

        6.       At all times relevant hereto, Defendants owned, managed and controlled the

Ripley's Old MacDonald's Farm Mini Golf at 1639 Parkway, Sevierville, Tennessee 37862,

which it operated as a miniature golf attraction.

        7.       At all times relevant hereto, Defendants had a responsibility and duty to the

Plaintiff, who was an invitee of the property, to maintain the property so that it would be safe to

the Plaintiff.

                                  JURSIDICTION AND VENUE

        8.       Venue is proper in this Court as the negligence and injuries occurred in Sevier

County, Tennessee.

        9.       The Defendants are subject to the jurisdiction of this Court.

                                               FACTS

        10.      On June 25, 2020, Plaintiff was patronizing Ripley's Old MacDonald's Farm

Mini Golf while on vacation in Sevier County, Tennessee.

        11.      In order to walk from one miniature golf hole to the next, the course directed

patrons to walk through areas with multiple stairs that did not have appropriate railings.

        12.      On June 25, 2020, Plaintiff was walking on this stairwell from one miniature golf

hole to the next when she fell.


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                                                                      Exhibit
   Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 3 of 48 PageID #: 11 A
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        13.    The Plaintiff fell as a result of the stairwell being defective by not having proper

railings in order to assure safe footing on the stairwell.

       14.     At all relevant times, the employees of the Defendants did not assure that the

stairwell was free from dangers and complaint with local ordinances.

        15.    At all relevant times, the Defendants did not properly monitor the flooring to

assure that they did not present any unreasonable risk of harm.

        16.    At all relevant times, Defendants failed to discover and/or remedy the stairway

which presented an unreasonable fall risk to patrons.

       17.     At all relevant times, Defendants failed to utilize any slip-resistant materials to

minimalize risk of slipping on the flooring at issue.

       18.     At all relevant times, Defendants failed to utilize alternative entrances/paths that

did not pose a risk of harm to the Plaintiff and others.

        19.    On June 25, 2020, Plaintiff's fall caused her severe damage to her left and right

wrists, among other injuries.

       20.     On June 25, 2020, the above-stated condition of the stairwell caused the fall and

subsequent injury of Plaintiff.

       21.     On June 25, 2020, the above-stated condition of the stairwell was caused by the

negligence of the Defendants.

       22.     At all relevant times, the Defendants knew or should have known that the

stairwell which lacked appropriate railings presented an unreasonable risk of injury to patrons.

                                    COUNT I-NEGLIGENCE
       23.     The Plaintiff hereby incorporates and adopts all of the above pursuant to

Tennessee Rule of Civil Procedure 10.04.


                                                   3

                                                                      Exhibit
   Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 4 of 48 PageID #: 12 A
                                                                                            Page 4
        24.       Defendants and/or their agents/employees negligently:

              a. Failed to maintain the stairway in a reasonably safe condition;

              b. Allowed a defective and dangerous condition to exist in the stairwell when the

                 Defendants and/or their agents/employees knew, or in the exercise of reasonable

                 care should have known, directing patrons to walk on a concrete stairwell without

                 slip resistant materials or a rail created an unreasonable risk of harm to those

                  walking on the flooring;

              c. Failed to remedy the dangerous condition in the stairway;

              d. Failed to adequately warn patrons of the dangerous condition of the stairway;

              e. Failed to use an alternative path that did not pose such a risk to patrons;

              f. Failed to otherwise exercise due care with respect to the matters alleged in this

                 complaint; and

              g. Failed to remedy the dangerous and defective condition of which it had

                 constructive and/or actual knowledge.

       25.       As a direct and proximate result of the Defendants' negligence, Plaintiff suffered

significant and serious personal injuries.



                                COUNT II-NEGLIGENCE PER SE

       26.       The Plaintiff hereby incorporates and adopts all of the above pursuant to

Tennessee Rule of Civil Procedure 10.04.

       27.       Defendants' actions, as set forth above, violate Sevierville Code Ordinance 12-

101, which has adopted the International Building Code of 2012 for commercial buildings.

International Building Code 1009.15 which provides that stairs shall have handrails on each side


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                                                                      Exhibit
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as set forth in International Building Code 1012, and the Defendants failed to follow the IBC

while allowing customers on its premises.

                                            DAMAGES

       28.     As a result of Plaintiff's injuries, she has sought medical treatment and care and

has incurred substantial medical expenses and other expenses related to her injuries as a result.

Plaintiff has suffered loss of enjoyment of life, loss of wages, and pain and suffering as a result

of the Defendant's negligence. She has also endured, and will continue to suffer in the future,

pain and suffering, loss of capacity for the enjoyment of life, medical expenses, and pennanent

impairments and disabilities.

       29.     The Plaintiff is entitled to receive damages from the Defendant for all damages

described herein and all other damages allowed under Tennessee law.

       WHEREFORE, Plaintiffs pray for the following relief:

       l.      A judgment for compensatory damages against Defendants, jointly and severally,

for a fair and reasonable sum to be determined by a jury in an amount not to exceed $400,000.00;

       2.      An award of all discretionary and court costs;

       3.      Such other relief as shall be deemed reasonable, just, and necessary.

       Respectfully submitted this 15h day of June, 2021,




                                                                            IE, BPR No. 027415
                                                     Delius & McKenzie, PLLC
                                                     Attorneyfor Plaintiffs
                                                     124 Court Avenue, 2nd Floor
                                                     Sevierville, Tennessee 37862
                                                     Phone: (865) 428-8780
                                                     Fax:    (865) 428-5254
                                                     Email: bryce@deliusmckenzie.com

                                                5

                                                                      Exhibit
   Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 6 of 48 PageID #: 14 A
                                                                                            Page 6
                                           COST BOND


       We, the undersigned, pursuant to T.C.A. § 20-12-125, acknowledge ourselves as sureties

for amounts required by law or included in the clerk's bill of costs in this cause.




                                                  6

                                                                      Exhibit
   Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 7 of 48 PageID #: 15 A
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                                STATE OF TENNESSEE
          THE ClRCUIT COURT FOR SEVIER COUNTY, TENNESSEE
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       Plaintiff,                                           )                ,;; __
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v.                                                          )                                               co
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RIPLEY ENTERTAINMENT INC.                                   )
and FIVE OAKS DEVELOPMENT GROUP, INC.                       )                                   1,....,.}
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                                                            )
       Defendants.                                          )




       To:     FIVE OAKS DEVELOPMENT GROUP, INC.
               c/o Tyler C. Huskey, Esq.
               2540 Sand Pike Blvd., Ste. 2
               Pigeon Forge, TN 37863


        You are hereby summoned and required to serve upon BRYCE W. MCKENZIE,
Plaintiffs' attorney, whose address is 124 Cou1t Avenue, Sevierville, Tennessee 37862, phone
(865) 4?8-8780, an answer to the complaint herewith served upon you within thirty (30) days
after service of this Summons and Complaint upon you, exclusive of the day of service. A copy
of the Answer must be filed with the Court either before or within a reasonable time after
service. [f you fail to do so, judgment by default may be taken against you for the relief
demanded in the Complaint.

       Issued and tested this   /5   day of   VWlb          , 2021.


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                                              Page I of 2
                                                                        Exhibit
     Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 8 of 48 PageID #: 16 A
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                                                           NOTICE
TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a
homcstt."ad exemption from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon
your age and the other factors which arc listed in TCA § 26-2-301. 1 fa judgment should be entered .igainst you in this action and
you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as exempt with the
clerk of the court. 171c list may be tiled at any time and may be changed by you thereafter as necessary; however. unless it is
filed before the judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the
list. Certain items are automaticnlly exempt by law and do not need to be listed; these include items of necessary wearing apparel
(clothing) for your self and your tinnily and trunks or other receptacles necessary to contain such apparel, family portraits, the
family Bible, and school books. Should any of these itt:ms be seized you would have the right to recover them. If you do not
ur1derstand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state file number on
list.


                                              SERVICE INFORMATION

               To the process server: FIVE OAKS DEVELOPMENT GROUP, INC.

                                                      may be served at:

                                                Tyler C. Huskey, Esq.
                                              2540 Sand Pike Blvd., Ste. 2
                                               Pigeon Forge, TN 37863


                                                         RETURN
I received this summons on the ___ day of _______, 2021.

I hereby certify and return that on the ___ day of _______, 2021,



[ ] served this summons and a complaint on Five Oaks Development Group, Inc., in the
following manner:




[ ] failed to serve this summons within 90 days after its issuance because: _________




                                                                       PROCESS SERVER




                                                           Page 2 of2
                                                                         Exhibit
      Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 9 of 48 PageID #: 17 A
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                                 STATE OF TENNESSEE
          THE CIRCUIT COURT FOR SEVIER COUNTY, TENNESSEE
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DEBRA HORTON                                             )                      r.J)>
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       Plaintiff,                                        )
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RIPLEY ENTERTAINMENT INC.                                )
and FIVE OAKS DEVELOPMENT GROUP, INC.                    )

       Defendauts.
                                                         )
                                                         )          (] COPY

       To:     RIPLEY ENTERTAINMENT INC.
               c/o Registered Agent CT Corporation System
               300 Montvue Road
               Knoxville, TN 37919-5546


        You are hereby summoned and required to serve upon BRYCE W. MCKENZIE,
Plaintiffs' attorney, whose address is 124 Court Avenue, Sevierville, Tennessee 37862, phone
(865) 428-8780, an answer to the complaint herewith served upon you within thirty (30) days
after service of this Summons and Complaint upon you, exclusive of the day of service. A copy
of the Answer must be filed with the Court either before or within a reasonable time after
service. If you fail to do so, judgment by default may be taken against you for the relief
demanded in the Complaint.

       Issued and tested this   _j_5_ day of cz&{( t     , 202 l.

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     Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 10 of 48 PageID Exhibit
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                                                           NOTICE
TO Tl-IE DEFENDANT($): Tennessee law provides a ten thousand dollt1r ($10,000) personal property exemption as well as a
homestead exemption from execution or seizure to satisty n judgmcnL The amount of the homestead exemption depends upon ,
your age and the other factors which .1re listed in TCA § 26-2-30 I. If a judgment should be entered against you in this action and
you wish to claim property as exempt. you must tile a written list. under oath. of the items you wish to claim as exempt with the
clerk of the cou1t. The list may be: tiled at any time and may be changed by you thereafter as necessary; however. unless it is
tiled bc:forc the judgment becomes final, it will not be: effective as to any execution or garnishment issued prior to the filing of the
list. Certain items are automatically exemJlt by law and do not need to be listed; these include items of necessary wearing apparel
(clothing) for your self and your family and trunks or other receptacle.� necessary to contain such apparel. family portmits, the
family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not
understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Pl<!nse state tile number on
list.


                                              SERVICE INFORMATION

                       To the process server: RIPLEY ENTERTAINMENT INC.

                                                       may be served at:

                                    Registered Agent CT Corporation System
                                               300 Montvue Road
                                              Sevierville, TN 37864


                                                         RETURN
I received this summons on the ____ day of _______, 2021.

l hereby certify and return that on the ___ day of _______, 2021,

 ------------------------------------
[ ] served this summons and a complaint on RIPLEY ENTERTAINMENT INC., Registered
Agent CT Corporation System, in the following manner:




[] failed to serve this summons within 90 days after its issuance because: _________




                                                                        PROCESS SERVER



                                    Page2 of2
       Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 11 of 48 PageID Exhibit
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                             STATE OF TENNESSEE
           THE CIRCUIT COURT FOR SEVIER COUNTY, TENNESSEE
                                     SUMMONS
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DEBRA HORTON                                             )
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        Plaintiff,                                       )                      -· : ...-.
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v.                                                       )      No: 21 f;V-31ffr..1/:               �
                                                         )      JURY DEMANo:-·:
RIPLEY ENTERTAINMENT INC.                                                                                    -.
                                                         )                                          ,_. .J
                                                                                                    v7
and FIVE OAKS DEVELOPMENT GROUP, INC.                    )
                                                         )
        Defendants.                                      )



        To:     FIVE OAKS DEVELOPMENT GROUP, INC.
                c/o Tyler C. Huskey, Esq.
                2540 Sand Pike Blvd., Ste. 2
                Pigeon Forge, TN 37863

        You are hereby summoned and required to serve upon BRYCE W. MCKENZIE,
Plaintiffs' attorney, whose address is 124 Court Avenue, Sevierville, Tennessee 37862, phone
(865) 428-8780, an answer to the complaint herewith served upon you within thirty (30) days
after service of this Summons and Complaint upon you, exclusive of the day of service. A copy
of the Answer must be filed with the Court either before or within a reasonable time after
service. If you fail to do so, judgment by default may be taken against you for the relief
demanded in the Complaint.

        Issued and tested this /5 day of   Clune, , 2021.
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                                    Page 1 of2
     Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 12 of 48 PageID Exhibit
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                                                           NOTICE
TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a
homestead exemption from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon
your age and the other factors which are listed in TCA § 26-2-301. If a judgment should be entered against you in this action and
you wish to claim property as exempt, you must file a written list, under oath, of the items you wish to claim as exempt with the
clerk of the court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless it is
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list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary wearing apparel
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family Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not
understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer. Please state file number on
list.


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                                                       may be served at:

                                                Tyler C. Huskey, Esq.
                                              2540 Sand Pike Blvd., Ste. 2
                                               Pigeon Forge, TN 37863


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I received this summons on the

I hereby certify and return that on the

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[t}served this summons and a complaint on Five Oaks Development Group, Inc., in the

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    Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 13 of 48 PageID Exhibit
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                                 STATE OF TENNESSEE
           THE CIRCUIT COURT FOR SEVIER COUNTY, TENNESSEE
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        Plaintiff,                                                                                      -; t r.:
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RIPLEY ENTERTAINMENT INC.                                )                       ·- .,..      \..r.

and FIVE OAKS DEVELOPMENT GROUP, INC.                    )
                                                         )
        Defendants.                                      )




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                c/o Registered Agent CT Corporation System
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demanded in the Complaint.

        Issued and tested this   /5 day of (li;IU,1      , 2021.


                                                 COURT CLERK


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                                    Page 1 of2
     Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 14 of 48 PageID Exhibit
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                                                           NOTICE
TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a
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list


                                              SERVICE INFORMATION

                       To the process server: RIPLEY ENTERTAINMENT INC.

                                                       may be served at:

                                    Registered Agent CT Corporation System
                                               300 Montvue Road
                                              Sevierville, TN 37864


                                                         RETURN
I received this summons on the                ilz       day of �Lvv,..,-                  , 2021.

I hereby certify and return that on the ('--\.
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Agent CT Corporat!on System, in tl).y followi� manner:      /
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    Case 3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 15 of 48 PageID Exhibit
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              IN THE CIRCUIT COURT FOR SEVIER COUNTY TENNESSEE

DEBRA HORTON,                                        )
                                                     )
        Plaintiff,                                   )
v.                                                   )
                                                     )
RIPLEY ENTERTAINMENT, INC. and FIVE                  )
OAKS DEVELOPMENT GROUP, INC.,                        )
                                                     )                                 �,
                                                                                 .•-C: --
        Defendant.                                   )                              .
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                                NOTICE OF APPEARANCE OF COUNSEL

       The law firm of Egerton, McAfee, Armistead & Davis, P.C., by and through the

undersigned counsel, Reuben N. Pelot, IV, hereby enters the appearance of Egerton, McAfee,

Armistead & Davis, P.C. on behalf of Defendant Five Oaks Development Group, Inc. and hereby

requests that all pleadings and notices concerning this cause be mailed to Reuben N. Pelot, IV, at

the address set forth herein.

       This notice is intended solely for the limited purpose of giving notice to the Court, the

Clerk, and the parties that the undersigned is appearing as counsel of record. All rights or

defenses the aforementioned Defendant may be entitled to assert in this cause are hereby

specifically reserved.

       RESPECTFULLY SUBMITTED this 21 st day of June, 2021.

                                          FIVE OAKS DEVELOPMENT GROUP, INC.



                                          By: ....l.....------�--���'!,....f,.':.1£...___
                                             REUBEN N. PELOT, IV, ES ., BPR#014986
                                              EGERTON, McAFEE, A.Rlv1ISTEAD & DAVIS, P.C.
                                             P.O. Box 2047
                                             Knoxville, TN 37901
                                             (865) 546-0500
                                             Attorneyfor Defendant Five Oaks Dev. Group, Inc.



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    Case
1984308vl   3:21-cv-00350 Document 1-2 Filed 10/08/21 Page 16 of 48 PageID Exhibit
                                                                           #: 24 A
                                                                                               Page 16
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy of this Notice of Appearance
of Counsel has been served upon counsel for all parties at interest in this case by delivering a true
and exact copy of said Notice to the offices of said counsel or by placing a true and exact copy of
said Notice in the United States Mail, addressed to:

                                    Bryce W. McKenzie, Esq.
                                   Delius & McKenzie, PLLC
                                  124 Court Avenue, 2nd Floor
                                      Sevierville, TN 37862

                                  Ripley Entertainment Inc.
                        c/o Shana Golden via email golden@riplev.com
                                             and
                        c/o CT Corporation System, Registered Agent
                                     300 Montvue Road
                                  Knoxville, TN 37919-5546

with sufficient postage thereupon to carry the same to its destination.

       THIS 21 st day of June, 2021.




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Lewis C. Foster, Jr.              Egerton lVIcMee Armistead & Davis, P.C.                              Bradley C. Sagraves
Rockforde D. King                                                                                      William H. Kittre11 4
Jonathan D. Reed 1                             ATTORNEYS AT LAW                                          Allison S. Jackson
Ronald T. Hill                                                                                            Jeremy 0. Miller
                                               CLIENT DRIVEN SINCE 1932                               Rameen J. Nasrollahi
Keith H. Burroughs
Reuben N. Pelot, IV                                                                                  Samuel C. Louderback
Norman G. Templeton                          All Attorneys Licensed in Tennessee                               Soojin Kim 5
Cheryl G. Rice2•3                               Additional Bar Memberships:                               Penny A. Arning
James M. Cornelius, Jr.                     1GA; 2DC; 3VA; 4KY; .1MD; 6FL; 7NM                              Kaitlyn A. Sell
Tracy G. Edmundson 1
R. Christopher Trump                                                                                          Of Counsel:
Nicholas J. Chase                                                                                        Dan W. Holbrook6
P. Newman Bankston                                                                                        Kelly S. Street4.7
John L. Wood
Melissa 8. Carrasco                                                                                               Inactive:
                                                                                                      Stephen A. McSween

                                             Sender's E-mail: rpe/o1@e111/aw.co111
                                                      June 21, 2021
                                                                                                      VIA U.S. MAIL

 Ms. Rita Ellison, Clerk
 Sevier County Circuit Court
 125 Court Avenue, Suite 204E
 Sevierville, TN 3 7862

             Re:     Debra Horton v. Ripley Entertainment, Inc. and Five Oaks Dev. Group, Inc.
                     Sevier County Circuit Court; Docket No. 21-CV-375-II

 Dear Ms. Ellison:

         Please find enclosed a Notice of Appearance of Counsel which we would appreciate your
 filing with the records of the court in the above-referenced matter. In addition, I am enclosing an
 extra copy of the Notice and would appreciate your stamping it as "Filed" and returning it to me in
 the envelope being provided for your convenience.

         Should you have any questions regarding this, please contact either me or my legal assistant,
 Liz D. Johnson. As always, your professional assistance is greatly appreciated.

                                                     Sincerely,

                                                     EGERTON, McAFEE, ARMISTEAD & DAVIS, P.C.


                                                     By:           ------1.."""---�-=-· ·L.-· --
                                                           ..L-..Reuben
                                                                  QX&     N. Pelot, IV, Esq.

 RNP\ldj
 Enclosures
 cc:    Bryce W. McKenzie, Esq. (Via U.S. Mail w/encl.)
        Ripley Entertainment Inc. (Via U.S. Mail w/encl.)
        Ms. Jennifer Bales (Via Email w/encl.)
        Ms. Michelle Marquand (Via Email w/encL)

                               900 South Gay Street, 14"' Floor, Riverview Tower, Knoxville, TN 37902
     Case      P.O. Box 2047, Knoxville,
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                                 (                                            (

                   IN THE CIRCUIT COURT FOR SEVIER COUNTY, TENNESSEE


        DEBRA BORTON,                                  )
                                                       )
                 Plaintiff,                            )
                                                       )   Docket No. 21-CV-375-II
        v.                                             )   JURY DEMAND (12)
                                                       )                                               C:
        RIPLEY ENTERTAINMENT INC.                      )                                     w         :::0
                                                                                                       ----l
        and FIVE OAKS DEVELOPMENT                      )                                     Ul
        GROUP,INC.                                     )                                      N
                                                       )
                 Defendant,                            )


                                        NOTICE OF APPEARANCE

              Comes B. Hart Knight, Elizabeth W. Moreton and the law firm Butler Snow LLP and gives

       notice of their appearance as counsel for Ripley Entertainment Inc.

                                                    Respectfully submitted,




                                                    B. Hart Knight, # 25508
                                                    Elizabeth W. Moreton,# 036558
                                                    BUTLER SNOW LLP
                                                    150 Third Avenue South, Suite 1600
                                                    Nashville, TN 37201
                                                    (615) 651-6784
                                                    elizabeth.moreton.@�h1,1t.lc:rsnow.com
                                                    hart.k.night@.blttlersnow✓ com


                                                   Attorneysfor Ripley Entertainment Inc.




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                                          CERTIFICATE OF SERVICE

                I hereby certify that a copy of the foregoing Notice of Appearance has been served by
        electronic mail through the Court's electronic filing system on the following counsel:


               Debra Horton
               Delius & McKenzie, PLLC
               124 Court Avenue, 2ru1 Floor
               Sevierville, 1N 37862

               Attomeysfor Plaintiff

               Reuben N. Pelot, IV
               Egerton McAfee
               900 S. Gay St., 14th Fl.
               Knoxville, 1N 37902

               Attorneysfor Defendant Five Oaks Development Group, Inc.

       On this 16 th day of July, 2021.




                                                          Elizabeth W. Moreton




       60199670.vl




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        Please find attached for filing in Docket No. 21-CV-375-11 the Answer of Ripley Entertainment Inc. to
        Plaintiff's Complaint.


        Carlinda Booher
        Legal Administrative Assistant
        Butler Snow LLP

        D: i61!i) 651.-678.'< ! F: (ul.5) 65Hi701
        150 3rd Ave1�ue South, s·ulte 1600, Nashvi!!e, TN 37201




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                                                TENNES SEE COURTS
                                    UNIFORM FACSIMILE FILING COVER SHEET

          TO (COURT CLERK): Sevier County Circuit Court Clerk

          CLERK'S FAX NUMBER: 665-774-9792

          CASE NAME: Debra Horton vs. Ripley Entertainment Inc. and Five Oaks Development Group, Inc.

          DOCKET NUMBER: 21-CV-375-11

          TITLE OF DOCUMENT: Answer of Ripley Entertainment Inc. to Plaintiff's Complaint

          FROM (SENDER): Elizabeth Moreton

          SENDER'S ADDRESS: 150 Third Avenue S., Suite 1600

                                 Nashville, TN 37201

          SENDER'S VOICE TELEPHONE NUMBER: 615-651-6643

          SENDER'S FAX TELEPHONE NUMBER: 615-651-6701

          DATE: 7/16/2021 TOTAL PAGES, INCLUDING COVER PAGE: 8

          FILING INSTRUCTIONS/COMMENTS (attach additional sheet if necessary):

                 Please return a stamp filed copy of the first page either via email to
                 carlinda.booher@)butlersnow.com or via fax to the attention of Carlinda Booher at
                 615-651-6701. Thank you.



                  Unless authorized by the Court, a facsimile transmission exceeding fifty (50) pages,
                                including the cover page, shall not be filed by the clerk.




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                       IN TBE CIRCUIT COURT FOR SEVIER COUNTY, TENNESSEE


         DEBRA HORTON,
                                                         �          SCANNED
                     Plaintiff,                          )
                                                         )   Docket No. 21-CV-375-Il                     '­
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         v.                                                  JURY DEMAND (12)                            r-
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         RIPLEY ENTERTAINMENT INC.                       )                                                      c_:_:;1?:-
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         and FIVE OAKS DEVELOPMENT                       )
         GROUP,INC.                                      )                                       ,--                  -!

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                                                                                                         I..O
                     Defendants.                         )

              ANSWER OF RIPLEY ENTERTAINMENT INC. TO PLAINTIBF'S COMPLAINT
                Ripley Entertainment Inc. ("Ripley"), by and through counsel, hereby answers Plaintiff's

        Complaint, paragraph by paragraph as follows:

                                                    PARTIES

                1.       Denied.

                2.       Denied.

                3.       Upon information and belief, admitted.

                4.       In response to the allegations contained in Paragraph 4 of the Complaint, Ripley

        states that it is a Delaware corporation with its principal place of business in Orlando,

        Florida. Ripley further states that it owns and operates the subject miniature golf course and may

       be served with process on its registered agent, CT Corporation. Ripley lacks knowledge or

       information sufficient to admit or deny any remaining allegations contained in Paragraph 4 of the

       Complaint that are inconsistent with the foregoing.

                5.       Upon information and belief, Ripley admits that Five Oaks Development Group,

       Inc. ("Five Oaks") is a Tennessee corporation, and further admits that Five Oaks owns and leases

       the property upon which Ripley constructed the subject miniature golf course. Ripley lacks



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        knowledge or information sufficient to form a belief as to the truth of the remaining avennents of

        Paragraph 5 of the Complaint.

               6.      To the extent the allegations contained in Paragraph 6 of the Complaint are directed

        to a defendant other than Ripley, no response is required. To the extent a response is deemed

        required, Ripley denies the allegations. To the extent the allegations contained in Paragraph 6 of

        the Complaint are directed to Ripley, Ripley admits the allegations.

               7.      The allegations contained in Paragraph 7 of the Complaint call for a legal

        conclusion, to which no response is required. To the extent a response is deemed required, Ripley

        denies that it breached any duty it may have owed to Plaintiff.

                                        JURISDICTION AND VENUE

               8.      Denied.

               9.      Denied.

                                                     FACTS

               10.    Upon information and belief, admitted.

               11.    Denied.

               12.    Denied.

               13.    Denied.

               14.    Denied.

               15.    Denied.

               16.    Denied.

               17.    Deriied.

               18.    Denied.




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               19.    Ripley lacks knowledge or information sufficient to fonn a belief as to the truth of

        the averments of Paragraph 19 of the Complaint.

               20.    Denied.

               21.    Denied.

               22.    Denied.

                                         COUNT I-NEGLIGENCE

               23.    Ripley hereby adopts its responses to paragraphs 1-22 as stated above.

               24.    Denied.

                          a. Denied.

                          b. Denied.

                         c. Denied.

                         d. Denied.

                          e. Denied.

                         f. Denied.

                          g. Denied.

               25.    Denied.

                                   COUNT II- NEGLIGENCE PER SE

              26.     Ripley hereby adopts its responses to paragraphs 1-25 as stated above.

              27.     Denied.

                                                 DAMAGES

              28.     Denied.

              29.     Denied.




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                Ripley denies the allegations contained in the unnumbered paragraph following Paragraph

        29 of the Complaint beginning "WHEREFORE, Plaintiffs pray," including subparagraphs 1

        through 3, and denies that Plaintiff is entitled to any relief whatsoever from Ripley, including the

        specific relief requested in this Paragraph and subparagraphs 1 through 3.

                                          AFFIRMATIVE DEFENSES

                                        FIRST AFFIRMATIVE DEFENSE

               Plaintiff's Complaint fails to state a claim in whole or in part upon which relief may be

        granted against Ripley.

                                     SECOND AFFIRMATIVE DEFENSE

               Ripley was not negligent in any way; therefore, neither Plaintiff nor any other individual

       or entity may recover from it.

                                      THIRD AFFIRMATIVE DEFENSE

               Ripley adopts by reference any defense raised by defendant Five Oaks.

                                    FOURTH AFFIRMATIVE DEFENSE

               Ripley affirmatively alleges that Plaintiff was negligent for her failure to pay proper

        attention to her walking path, for failing to observe an open and obvious condition, for failing to

       be alert and aware of her surroundings, for failing to proceed with caution, and/or for any other

       negligence on the part of Plaintiff. Ripley avers that Plaintiff's own negligence was the sole and

       proximate cause of her alleged injuries and/or damages, if any. Ripley is therefore not liable to

       Plaintiff.




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                                      FIFTH AFFIRMATIVE DEFENSE

               Ripley asserts the affirmative defense of comparative fault against Plaintiff. Any award

        against Ripley should be reduced by the amount of fault apportioned to Plaintiff, and if Plaintifrs

        apportionment is equal to or greater than 50 percent, Plaintiff's claims should be dismissed.

                                      SIXTH AFFIRMATIVE DEFENSE

               To the extent the absence of a handrail caused or contributed to the incident complained

        of-an allegation which Ripley expressly denies-Ripley asserts that it built and maintained the

        subject premises in compliance with all applicable codes, ordinances, and laws.

                                   SEVENTH AFFIRMATIVE DEFENSE

               Ripley reserves the right to rely on the doctrine of comparative fault should future

        discovery proceedings reveal that the negligence of any other party or non-party caused or

        contributed to Plaintiff's alleged injuries and damages. Ripley reserves the right to amend its

        Answer and assert additional affirmative defenses should discovery warrant such amendments.

                                    EIGHTH AFFIRMATIVE DEFENSE

               Ripley pleads the affirmative defense of assumption of the risk.

                                     NINTH AFFIRMATIVE DEFENSE

               Ripley affirmatively pleads that it maintained the subject premises in a reasonably safe

       condition.

                                     TENTH AFFIRMATIVE DEFENSE

               If Plaintiff has sustained any injuries or damages, such results were proximately caused by

       separate, unforeseeable, independent, intervening, or superseding events, factors, occurrences, or

       conditions, and/or were caused, produced, or brought about by reason of the acts, faults, or




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        omissions of individuals, persons, or entities other than Ripley, none of which were in any way

        caused by Ripley.

                                    ELEVENTH AFFIRMATIVE DEFENSE

               Plaintiff's claims are barred in whole or in part by the doctrines of laches, unclean hands,

        waiver, estoppel, and/or judicial estoppel.

                                    TWELFTH AFFIRMATIVE DEFENSE

               Plaintiff's alleged injuries and damages may be the result of pre-existing illnesses, injuries,

        and/or conditions for which Ripley is not liable.

                                  THIRTEENTH AFFIRMATIVE DEFENSE

               Plaintiff's claim for noneconomic damages is limited by Tenn. Code Ann. § 29-39-102.

                                 FOURTEENTH AFFIRMATIVE DEFENSE

               Ripley is entitled to a reduction, or set off, as to its liability, if any, for any amount paid or

       payable to the plaintiff under any workers' compensation law, disability benefit law or any similar

       law.

                                   FIFTEENTH AFFIRMATIVE DEFENSE

               Ripley reserves its right to continue investigation in this matter, including the use of

       discovery as allowed by the applicable rules of civil procedure, in order to determine whether

       Ripley is availed of any other affirmative defense, including asserting fault on any other party or

       non-party. This Affirmative Defense will be amended in accordance with the applicable rules of

       civil procedure.

               WHEREFORE, having fully answered Plaintiff's Complaint, Ripley Entertainment Inc.

       prays as follows:

                       (a)     that this action be dismissed as to Ripley and the costs taxed to the Plaintiff;



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                       (b)    that Ripley have such other and further general relief to which it may be

                              entitled; and

                      (c)     that this action be tried by a jury of twelve (12) persons.




                                                     B. Hart Knight, # 25508
                                                     Elizabeth W. Moreton, # 036558
                                                     BUTLER SNOW LLP
                                                     150 Third Avenue South, Suite 1600
                                                     Nashville, TN 37201
                                                     (615) 651-6784
                                                     elizabeth.moret.0A1@bl11'lers1w,-v.ccm1
                                                     hart.1mi1.drt(q)butlersnow.com

                                                     Attorneysfor Ripley Entertainment Inc.

                                        CERTIFICATE OF SERVICE

                       I hereby certify that a copy of the foregoing Answer has been served by electronic
        mail through the Court's electronic filing system on the following counsel:

                      Debra Horton
                      Delius & McKenzie, PLLC
                      124 Court Avenue, 2nd Floor
                      Sevierville, TN 37862

                      Attorneysfor Plaintiff

                      Reuben N. Pelot, IV
                      Egerton McAfee
                      900 S. Gay St., 14th Fl.
                      Knoxville, TN 37902

                      Attorneysfor Five Oaks Development Group, Inc.

               On this 16th day of July, 2021.




                                                              Elizabeth W. Moreton

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        Please find attached for filing in docket NO. 21-CV-375-11 a Notice of Appearance.


        Carlinda Booher
        Legal Administrative Assistant
        Butler Snow LLP

        D: i615) 651.-678.9 i F: {f.15) 651..5701
        150 3rd Avenue South, Suite 1600, Nashville, TN 37201




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                                             TENNESSEE COURTS
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          TO (COURT CLERK): Sevier County Circuit Court Clerk

          CLERK'S FAX NUMBER: 865-774-9792

          CASE NAME: Debra Horton vs. Ripley Entertainment Inc. and Five Oaks Development Group, Inc.

          DOCKET NUMBER: 21-CV-375-11

          TITLE OF DOCUMENT: Notice of Appearance

          FROM (SENDER): Elizabeth Moreton

          SENDER'S ADDRESS: 150 Third Avenue S., Suite 1600

                                 Nashville, TN 37201

          SENDER'S VOICE TELEPHONE NUMBER: 615-651-6643

          SENDER'S FAX TELEPHONE NUMBER: 615-651-6701

          DATE: 7/16/2021 TOTAL PAGES, INCLUDING COVER PAGE: 3

          FILING INSTRUCTIONS/COMMENTS (attach additional sheet if necessary):

                 Please return a stamp filed copy of the first page either via email to
                 carlinda.booher(@,butlersnow.com or via fax to the attention of Carlinda Booher at
                 615-651-6701. Thank you.



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                                including the cover page, shall not be filed by the clerk.




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Child Support Division 865.429.5270                                                                                  Email:rellison@seviercountytn.org
Criminal Division 865.774.3731                                                                                       Circuit Court-125 Court Avenue
Criminal Fax 865.774.3620                                                                                            Room 204 E - Courthouse
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Civil Fax 865.774.9792



                                                         Rita D. Ellison
                                                            Circuit Court Clerk


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                                                         Rita Ellison, Circuit Court Clerk
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                                                              Sevierville, TN 37862
                                                                  (865) 453-5536
                                                                     Cost Bills

7/19/2021


Ripley E ntertainment Inc


ln the case of:      Debra Horton vs Ripley Entertainment lnc (et al)
Case Number:         78CC1-202 l-CV-375

                                         # of                  Last Paid                   Fee            Total   Total
Fee                                      Fees Due Date         Date                     Amount         Assessed   Paid     Total Due
Fax Filing Fee                                                                             $8.00          $8.00   $0.00          $8.00
Fax Filing Fee                                                                            $13.00        $13.00    $0.00         $13.00

                                                                            Totals:                     $21.00    $0.00         $21.00


Swom to before me the 19th July, 2021.




                                                                                      , Clerk




                                                                                      ,D.C.




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               IN THE CIRCUIT COURT FOR SEVIER COUNTY TENNESSEE

DEBRA HORTON,                                          )
                                                       )                                       ·.. ·:,
        Plaintiff,                                     )                                       ,-_:,..•
v.                                                     )
                                                       )           Case No. 21-CV-37S�iI �.;
RIPLEY ENTERTAINMENT, INC. and     )
                                                                                                          .,,. ·. '


FIVE OAKS DEVELOPMENT GROUP, INC., )
                                                       )
        Defendant.                                     )

                 ANSWER OF FIVE OAKS DEVELOPMENT GROUP, INC.

        Comes now Defendant Five Oaks Development Group, Inc. ("This Defendant"), by and

through counsel, and for answer to the Complaint filed against it responds as follows:

        1.      This Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 1 of the Complaint and, therefore, denies same.

       2.       The allegations of Paragraph 2 of the Complaint are denied to the extent the

allegations are directed at This Defendant. This Defendant is without knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 2 of the Complaint with

respect to the other Defendant and, therefore, denies same.

       3.       This Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 3 of the Complaint.

       4.       In response to the allegations in Paragraph 4 of the Complaint, This Defendant

admits upon information and belief that Defendant Ripley Entertainment, Inc. ("Ripley") owns

and operates Ripley's Old MacDonald's Farm Mini Golf. This Defendant is without knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

4 of the Complaint.




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            5.    The allegations in the first and third sentences of Paragraph 5 of the Complaint

are denied. The allegations in the second sentence of Paragraph 5 of the Complaint are admitted.

            6.    The allegations of Paragraph 6 of the Complaint are denied to the extent the

allegations are directed at This Defendant. This Defendant admits upon information and belief

the allegations of Paragraph 6 of the Complaint to the extent the allegations are directed at

Ripley.

            7.    The allegations of Paragraph 7 of the Complaint are denied to the extent the

allegations are directed at This Defendant. This Defendant is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 7 of the

Complaint to the extent they are directed at Ripley and, therefore, denies same. This Defendant

affirmatively avers that it owed no duty to Plaintiff.

            8.    To the extent the allegations in Paragraph 8 of the Complaint assert an improper

legal conclusion, no response is required from This Defendant. In response to the remaining

allegations in Paragraph 8 of the Complaint, This Defendant admits upon information and belief

that venue would be proper in this Court based on the facts alleged in the Complaint.

            9.    To the extent the allegations in Paragraph 9 of the Complaint assert an improper

legal conclusion, no response is required from This Defendant, although This Defendant admits

upon information and belief that it is likely subject to personal jurisdiction in this Court. This

Defendant is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 9 of the Complaint to the extent the allegations are directed at

Ripley.

            10.   This Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 10 of the Complaint and, therefore, denies same.




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            11.   This Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 11 of the Complaint and, therefore, denies same.

            12.   This Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 12 of the Complaint and, therefore, denies same.

            13.   This Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 13 of the Complaint and, therefore, denies same.

            14.   The allegations of Paragraph 14 of the Complaint are denied to the extent the
                                                        h
allegations are directed at This Defendant because Tis Defendant had no duty with respect to

the conduct alleged in Paragraph 14 of the Complaint. This Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 14

of the Complaint to the extent they are directed at Ripley and, therefore, denies same.

            15.   The allegations of Paragraph 15 of the Complaint are denied to the extent the

allegations are directed at This Defendant because This Defendant had no duty with respect to

the conduct alleged in Paragraph 15 of the Complaint. This Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 15

of the Complaint to the extent they are directed at Ripley and, therefore, denies same.

            16.   The allegations of Paragraph 16 of the Complaint are denied to the extent the

allegations are directed at This Defendant because This Defendant had no duty with respect to

the conduct alleged in Paragraph 16 of the Complaint. This Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 16

of the Complaint to the extent they are directed at Ripley and, therefore, denies same.

            17.   The allegations of Paragraph 17 of the Complaint are denied to the extent the

allegations are directed at This Defendant because This Defendant had no duty with respect to




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the conduct alleged in Paragraph 17 of the Complaint. This Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 17

of the Complaint to the extent they are directed at Ripley and, therefore, denies same.

            18.   The allegations of Paragraph 18 of the Complaint are denied to the extent the

allegations are directed at This Defendant because This Defendant had no duty with respect to

the conduct alleged in Paragraph 18 of the Complaint. This Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 18

of the Complaint to the extent they are directed at Ripley and, therefore, denies same.

            19.   This Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 19 of the Complaint and, therefore, denies same.

            20.   This Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 20 of the Complaint and, therefore, denies same.

            21.   The allegations of Paragraph 21 of the Complaint are denied to the extent the

allegations are directed at This Defendant. This Defendant is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 21 of the

Complaint to the extent they are directed at Ripley and, therefore, denies same. This Defendant

denies that it was negligent and denies that it acted or failed to act in any way that caused

Plaintiff to fall or suffer injury.

            22.   The allegations of Paragraph 22 of the Complaint are denied to the extent the

allegations are directed at This Defendant because This Defendant had no duty with respect to

the conduct alleged in Paragraph 22 of the Complaint. This Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 22

of the Complaint to the extent they are directed at Ripley and, therefore, denies same.




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            23.   In response to Paragraph 23 of the Complaint, This Defendant restates and

incorporates herein Paragraphs 1 through 22 of this Answer as if fully set forth herein.

            24.   The allegations in Paragraph 24 of the Complaint and all of its subparts are denied

to the extent the allegations are directed at This Defendant.           This Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 24 of the Complaint to the extent they are directed at Ripley and, therefore, denies

same. This Defendant denies that it was negligent and denies that it acted or failed to act in any

way that caused Plaintiff to fall or suffer injury. This Defendant further affirmatively avers that

it owed no duty to Plaintiff that it breached.

            25.   The allegations in Paragraph 25 of the Complaint are denied to the extent the

allegations are directed at This Defendant. This Defendant is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 25 of the

Complaint to the extent they are directed at Ripley and, therefore, denies same. This Defendant

denies that it was negligent and denies that it acted or failed to act in any way that either directly

or proximately caused Plaintiff to fall or suffer injury. This Defendant further affirmatively

avers that it owed no duty to Plaintiff that it breached.

            26.   In response to Paragraph 26 of the Complaint, This Defendant restates and

incorporates herein Paragraphs 1 through 25 of this Answer as if fully set forth herein.

            27.   The allegations in Paragraph 27 of the Complaint are denied to the extent the

allegations are directed at This Defendant. This Defendant is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 27 of the

Complaint to the extent they are directed at Ripley and, therefore, denies same. This Defendant

denies that it was negligent and denies that it acted or failed to act in any way that caused




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Plaintiff to fall or suffer injury. This Defendant further affirmatively avers that it owed no duty

to Plaintiff that it breached.

        28.     This Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 28 of the Complaint with respect to any injuries or

damages Plaintiff may have incurred and, therefore, denies same. The remaining allegations in

Paragraph 28 of the Complaint are denied to the extent the allegations are directed at This

Defendant. This Defendant is without knowledge or information sufficient to form a belief as to

the truth of the remaining allegations in Paragraph 28 of the Complaint to the extent they are

directed at Ripley and, therefore, denies same. This Defendant denies that it was negligent and

denies that it acted or failed to act in any way that caused Plaintiff to fall or suffer injury. This

Defendant further affirmatively avers that it owed no duty to Plaintiff that it breached.

       29.      In response to the allegations in Paragraph 29 of the Complaint, This Defendant

denies that the Plaintiff is entitled to recover any damages from This Defendant.

       30.      This Defendant denies that the Plaintiff is entitled to the relief prayed for in her

Complaint from This Defendant.

       31.      All allegations and avennents m the Complaint not heretofore admitted,

controverted, explained, or otherwise denied are hereby denied in their entirety.

       32.      This Defendant affirmatively asserts that the Complaint fails to state a claim for

which relief could be granted against This Defendant.

       33.      lb.is Defendant avers that it did not engage in any negligence which caused or

contributed to the injuries or damages alleged in the Complaint.

       34.      lb.is Defendant denies that it is liable for any act of omission or commission which

directly or proximately caused or contributed to the injuries or damages alleged in the Complaint.



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            35.   This Defendant avers that Plaintiffs claims are ba.1.Ted by the doctrine of

comparative fault as it is applied in Tennessee and that the negligence of Plaintiff was such as to

bar any recovery by Plaintiff. Specifically, it is aven-ed upon information and belief that, to the

extent Plaintiff avers a long standing and open condition, then Plaintiff was negligent in failing to

see what was present to be seen, failing to care for her own safety, and failing to keep a proper

lookout and observe the patent conditions present to be seen. Consequently, This Defendant avers

that Plaintiff's claims are barred due to Plaintiff's fault being at or greater than 50 percent of the

proximate cause and cause in fact of the accident alleged in the Complaint.

            36.   Alternatively, This Defendant avers, upon information and belief, that any recovery

by Plaintiff to which she might otherwise be found entitled, if any, should be reduced and

apportioned in accordance with the percentage of fault attributable to Plaintiff's own fault and

negligence plus the fault and negligence of other parties or non-parties, to the extent it may be

found to be wan-anted by investigation and discovery in this case, and that any recovery by

Plaintiff be thereby either reduced or baned accordingly based on the facts to be ultimately found

in this case.

            37.   This Defendant affirmatively avers that owed no duty to Plaintiff and that it

exercised due care and was reasonably diligent with respect to any and all duties it otherwise may

have owed, and that This Defendant was not aware, nor should it have been aware, of any

defective or dangerous condition as alleged in the Complaint.

            38.   This Defendant affirmatively avers that it did not create any potentially unsafe or

dangerous condition as alleged in the Complaint.

            39.   This Defendant affirmatively avers that, as described in the Complaint by

Plaintiff, the conditions present to be seen by Plaintiff were open and obvious to her.




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            40.   This Defendant further reserves the right to asse11 the affirmative defense of

failure to mitigate damages to the extent it may be found to be warranted by investigation and

discovery in this case.

            41.   This Defendant further relies upon the defenses, limitations, and monetary caps as

provided in Tennessee's Civil Justice Act of 2011, Tenn. Code Ann§ 29-39-101, et. seq.

            42.   This Defendant also reserves the right to amend its Answer to plead additional

facts and/or defenses as may be supported by facts revealed by further investigation and

discovery, including but not limited to, intervening and superseding causes, acts of third parties,

and pre-existing conditions.

            WHEREFORE, having fully answered the Complaint filed against it, 1bis Defendant

prays that the Complaint against it be dismissed in its entirety with prejudice and on the merits and

that the costs of this cause be truced against the Plaintiff or other remaining parties in this case.

This Defendant further requests such additional general relief to which it may be entitled under the

circumstances and demands a jury be empaneled to try all issues triable by a jury.

            RESPECTFULLY SUBMITTED this 16th day of August, 2021.

                                            FIVE OAKS DEVELOPMENT GROUP, INC.


                                            By:au
                                               REUBEN N. PELOT, IV, ESQ., BPR#014986
                                               EGERTON, McAFEE, ARMISTEAD & DAVIS, P.C.
                                               P.O. Box 2047
                                               Knoxville, TN 37901
                                               Attorneyfor Defendant Five Oaks Development
                                               Group, Inc.




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of August, 2021, I did cause a true copy of the
foregoing document with attachments to be transmitted as indicated below to be served upon the
parties in this cause by delivering the same by and through its counsel of record as indicated
below:

            Hand delivery                 Bryce W. McKenzie, Esq.
        X   First Class U.S. Mail         Delius & McKenzie, PLLC
            Telephone Facsimile           124 Court Avenue, 2nd Floor
            E-mail                        Sevierville, TN 37862


            Hand delivery                 B. Hart Knight, Esq.
        X   First Class U.S. Mail         Elizabeth W. Moreton, Esq.
            Telephone Facsimile           Butler Snow LLP
        X   E-mail                        150 Third Ave. South, Suite 1600
                                          Nashville, TN 37201




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                                   F'GERTON McAFEC-
Lewis C. Foster, Jr.                                                                                      Bradley C. Sagraves
Rock.forde D. King
                                   Egerton McAfee Armistead & Davis, P.C.                                 William H. Kittrell�
Jonathan D. Reed 1                              ATTORNEYS AT LAW                                           Allison S. Jackson
Ronald T. Hill                                                                                               Jeremy D. Miller
                                                 CLmNT DRIVEN SINCE 1932
Keith H. Burroughs                                                                                       Rameen J. Nasrollahi
Reuben N. Pelot , IV                                                                                    Samuel C. Louderback
Nonnan G. Templeton                           All Attorneys Licensed in Tennessee                                Soo jin Kim5
Cheryl G. RiceZ. 3                               Additional Bar Memberships:                                 Penn y A. Arning
James M. Cornelius , Jr.                     'GA; 2DC; 3VA; 4 KY; 5MD; 6FL ; 7NM                               Kaitlyn A. Sell
Tracy G. Edmundson1
R. Christopher Trump                                                                                             Of Counsel:
Nicholas J. Chase                                                                                           Dan W. Holbrook6
P. Newman Bankston                                                                                           Kelly S. Street4•7
John L. Wood
Melissa B. Carrasco                                                                                                  Inactive:
                                                                                                         Stephen A. McSween

                                              Sender's E-mail: rpelorr@.emlaw.com
                                                      August 16, 2021
                                                                                                         VIA U.S. MAIL

 Ms. Rita Ellison, Clerk
 Sevier County Circuit Court
 125 Court Avenue, Suite 204E
 Sevierville, 1N 37862

 Re:         Debra Horton v. Ripley Entertainment, Inc. and Five Oaks Development Group, Inc.
             Sevier County Circuit Court; Docket No. 21-CV-375-11

 Dear Ms. Ellison:

        On behalf of my client, Defendant Five Oaks Development Group, Inc., please find
 enclosed the Answer of Five Oaks Development Group, Inc. which we would appreciate your filing
 with the records of the court in the above-referenced matter. In addition, I am enclosing an extra
 copy of the Answer and would appreciate your stamping it as "Filed" and returning it to me in the
 envelope being provided for your convenience.

         Should you have any questions regarding this, please contact either me or my legal assistant,
 Liz D. Johnson. As always, your time and assistance is greatly appreciated.

                                                      Sincerely,

                                                      EGERTON, McAFEE, ARMISTEAD & DAVIS, P.C.


                                                      By:a�
                                                         Reuben N. Pelot, IV, Esq.

 RNP\ldj
 Enclosures
 cc:    Bryce W. McKenzie, Esq. (Via U.S. Mail w/encl.)
        Elizabeth W. Moreton, Esq. (Via Email and U.S. Mail w/encl.)
        Ms. Jennifer Bales (Via Email w/encl.)
        Ms. Michelle Marquand (Via Email w/encl.)
                              900 South Gay Street, 14th Floor, Riverview Tower, Knoxville, TN 37902
               P.O. Box 2047, Knoxville, TN 37901-2047          (865) 546-0500 I Fax: (865) 525-5293 / www.emlaw.com
                                                         / Tel:Filed
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            IN THE CIRCUIT COURT FOR SEVIER COUNTY, TENNESSEE

 DEBRA HORTON,                                  )
                                                )
        Plaintiff,                              )
                                                )                                 ('/') =:
                                                                                  r,: : ...
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                                                                                                r-'°"
                                                                                                            0
 vs.                                            )           No.: 21-CV-375-11                   ...         -,
                                                                                                .- .,
                                                                                  �r-             ')

                                                                                                            CJ
                                                )                                 ,             ·-::,
                                                                                                         -,71::
 RIPLEY ENTERTAINMENT INC.,                     )                                 (. .          ;-0
                                                                                                         -�,.
 and FIVE OAKS DEVELOPMENT                                                         �.           :·,J
                                                )                                 ....          �
 GROUP,INC.                                     )                                      ...               Q_C)
                                                                                                            0
                                                )                                 ::<.. � .·    •.·J        C
                                                                                                 ~          -.
        Defendants.                             )                                 -· �          0--

                           NOTICE OF VOLUNTARY NON-SUIT

       COMES NOW the Plaintiff, Debra Horton, by and through counsel, pursuant to Rule41.0l

of the Tennessee Rules of Civil Procedure, and hereby gives notice of a voluntary non-suit against

the Defendant, Five Oaks Development Group, Inc. This Notice ONLY applies to Defendant Five

Oaks Development Groups, Inc.
                                        ./

       Respectfully submitted this L<\, day of September, 2021.




                                                    Bryce w. McKeuL..l�J�
                                                    Attorney for Plaintiff
                                                    DELIUS & MCKENZIE, PLLC
                                                    124 Court Avenue
                                                    Sevierville, Tennessee 37862
                                                    (865) 428-8780




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy of the foregoing has been

forwarded via regular U.S. Mail, postage prepaid, to:

       B. Hart Knight, Esq.
       Elizabeth W. Moreton, Esq.
       BUTLER SNOW LLP
       150 Third Avenue South, Ste. 1600
       Nashville, TN 37201

       Reuben N. Pelot, IV, Esq.
       EGERTON MCAFEE
       900 S. Gay Street, 14th Floor
       Knoxville, TN 3 7902

       This the   Z<"l"   day of September, 2021.




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              IN THE CIRCUIT COURT FOR SEVIER COUNTY, TENNESSEE

DEBRA HORTON,                                          )                                      ;.,
                                                                                                   1
                                                                                                         =
                                                                                                         ,.._,
                                                                                                         ,..._,     0
                                                       )                                C.Q
                                                                                        r:� >·
         Plaintiff,                                    )                                --.-·
                                                                                        -·- ..._..
                                                                                        r··. -····
                                                       )                                � --
                                                                                                                  _,....
                                                                                              ·-


vs.                                                    )          NO.:21-CV-375-11
                                                                                                                  0
                                                       )                                                          o.O
RIPLEY ENTERTAINMENT INC.                                                                                           0
                                                       )
and FIVE OAKS DEVELOPMENT                              )
GROUP, INC.,                                           )
                                                       )
         Defendant

                                       NOTICE OF SERVICE

         COMES NOW the Plaintiff, by and through counsel, and hereby gives notice that Plaintiffs

Responses to the Defendant Ripley Entertainment Inc. 's First Set ofInterrogatories and Requests for

Production of Documents were served upon counsel for the Defendant, Ripley Entertainment Inc.' s

on or about September 23, 2021. Plaintiff request this notice be placed in the record and filed by the

Clerk.
                                            ,.,
         Respectfully submitted this   l)         day of September, 2021.




                                                                            KENZIE, BPR # 027415
                                                           Attorneyfor Plaintiff
                                                           DELIUS & MCKENZIE, PLLC
                                                           124 Court Avenue
                                                           Sevierville, Tennessee 37862
                                                           (865) 428-8780




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                                      CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy of the foregoing has been

forwarded via regular U.S. Mail, postage prepaid, to:

       B. Hart Knight, Esq.
       Elizabeth W. Moreton, Esq.
       BUTLER SNOW LLP
       150 Third Avenue South, Ste. 1600
       Nashville, TN 37201
                           ,.
       This the   ·7..,�        day of September, 2021.




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